Case 1:05-cv-01211-.]DT-STA Document 13 Filed 08/16/05 Page 1 of 4 PSQ%|D 4

05 ‘5’
IN THE UNITED STATES DISTRICT COURT ,,/ /< /6` 0
FoR THE WESTERN DISTRICT oF TENNESSEE;<§a-' v 44'6, 'C-‘

»r/ c.- 1 ~,i» , -'
EASTERN DlvlsloN ' /)/”’%, 30
a ;G;/Z;;,~@
'~J,,n, /
%;@;/ '//53?'
JAMES H. OLIVER and Wife, )
EMILY orivER, )
)
Plaintiffs, )
)
VS. ) No. 05-121]-T/An

)
MERCK & CO., INC., ET AL., )
)
Defendants. )

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs J ames H. Oliver and Emily Oliver filed this action in the Circuit Court of
Madison County, Tennessee, on June 20, 2005, against Merck and Company, Inc., maker
of the prescription drug known as Vioxx. Plaintiffs also named as defendants certain local
Merck sales representatives and pharmacists Merck removed the action to this Court on
July 25, 2005, on the basis of diversity of citizenship, contending that the non-diverse
defendants Were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on July 25, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product

This document entered on the docket sheet in compliance
with Rule 58 and!or_?Q (a) FRCP on

l?)

Case 1:05-cv-01211-.]DT-STA Document 13 Filed 08/16/05 Page 2 of 4 Page|D 5

Liability Litigation. Plaintiffs filed a motion to remand the action to state court on August
4, 2005.

The MDL Panel issued the first Transfer Order establishing MDL-165 7 on February
16, 2005. ln that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as well as in any other MDL- l 657 actions can be

presented to and decided by the transferee judge. See, e.g., 111 re Ivy, 90] F.Zd

7 (Zd Cir. 1990); fn re Prudential fnsurance Company of Amerl'ca Sales

Pmctices Litigation, 170 F. Supp. 2d 1346, 1347-48 (.T.P.M.L. 2001).
Transl`er Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of` transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs’ motion to remand. §_e§ JPML R. 1.5. The decision whether
to grant a stay is within the inherent power of the Court and is discretionaryl g Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. Inc., No. l:O4CV2044-JDT~TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.,O_.. Anderson v. Merck & Co.` lnc., No. 4:05-cv»89 (E.D. Mo. Mar. 16, 2005);
I\/lcCrerey v. Merck & Co.. lnc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co. inc., NO. 05-0121 (s.D. rex. Feb. 23, 2005).

 

Case 1:05-cv-01211-.]DT-STA Document 13 Filed 08/16/05 Page 3 of 4 Page|D 6

There are several other Vioxx cases already pending in this district, and possibly
thousands more in other districts ln many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or will be transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources ln addition, the Court finds that
any prejudice to the plaintiffs resulting from a stay Would be minimal. However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant.

For the foregoing reasons, Merck’s motion to Stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

lT lS SO ORDERED.

@1/»»¢/49'»»44

D. TODD
ED STATES DISTRICT JUDGE

UN/§'W?MS

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01211 was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

.lohn R. Cannon

SHUTTLEWORTH SMITH MCNABB & WILLIAMS
200 .lefferson Ave.

Ste. 1500

1\/1emphis7 TN 38103--002

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
.lackson7 TN 38303--053

.l ames L. &quot',Larry& Wright
JACKS LAW FIRM

111 Congress Ave.

Ste. 1010

Austin7 TX 78701

Steven G. Ohrvall

H[LL BOREN- .lackson
1269 N. Highland Ave.
P.O. Box 3539

.lackson7 TN 38303--353

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/1emphis7 TN 38119

.ludy Barnhill

Criminal Justice Complex
515 S. Liberty St.
.lackson7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

